                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, et al.                                         PLAINTIFFS


        v.                                           NO. 5:23-cv-5086


 CRAWFORD COUNTY, ARKANSAS, et al.                                           DEFENDANTS


                  DECLARATION OF REVEREND JOHN PAUL MYRICK

       I, Reverend John Paul Myrick, hereby declare under penalty of perjury as prescribed in 28

U.S.C. § 1746:

       1.        The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ Motion for Summary Judgment.

       2.        I am the Regional Librarian for the East Central Arkansas Regional Library

(ECARL), which is a regional public library system serving Cross and Woodruff Counties in the

Arkansas Delta. I am also a member of the Arkansas Library Association (ArLA) and serve on

ArLA’s Executive Board as its representative to the Southeastern Library Association.

       3.           I hold a master’s degree in Library & Information Science from the University

of Alabama and have more than 30 years of professional experience in that field.

       4.        I have held my current position as Regional Librarian for ECARL since 2013. In

that position, I oversee the operation of five library branches: Augusta/Woodruff County Library;

Cherry Valley Branch Library; Cotton Plant Branch Library; McCrory Branch Library; and

Wynne / Cross County Library.



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        5.     ECARL serves roughly 23,000 persons in two counties of the Arkansas Delta, a

poorer socio-economic region of the state.

        6.     The libraries in ECARL carry books and other materials in their general collections

that are constitutionally protected for adults and older minors but may be considered by some to

be harmful to younger minors, for instance, because they contain some description of sexual

conduct. Books in our collections, including those that might be deemed “harmful” to younger

minors, are maintained on open shelves and organized logically, such as by genre, so that patrons

can easily find suitable books of interest, including by browsing, without requiring assistance

from a library staff member.

        7.     If books deemed “harmful” to younger minors are maintained in our general

collection, as they are now, I would be concerned that my staff and I could be charged with a

crime under Section 1 of Act 372 of 2023. I also expect that the “appropriateness” of those and

other books would be challenged under Section 5 of Act 372. Indeed, if Act 372 goes into effect,

I expect that disfavored books will be challenged repeatedly. Dealing with those materials

challenges will strain our limited resources and might force us to reduce the services we can offer.

        8.     ECARL does not have the financial or staff resources to preemptively review its

entire collection in order to identify all of the material that might put us at risk of criminal liability

under Section 1 of Act 372 if it is made “available” to a minor, or that might draw a challenge

under Section 5 of Act 372, based on its “appropriateness” for inclusion in our general collection.

        9.     Even if ECARL had the resources to do that kind of exhaustive pre-emptive review,

we would still need to segregate any books identified to an area where they are not “available” to

minors under Section 1 and “not accessible to minors” under Section 5. None of the ECARL

branches have that sort of physically secure space. Enclosed spaces we could make secure are



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currently being used for an important library service, such as community meeting space,

historical/genealogical collections space, etc.

        10.    ECARL does not have the resources to alter the interior layout of our branches in

order to create new adults-only spaces. And appropriating existing space to create an adult-only

space will significantly reduce the services we can offer to our community. Furthermore, even if

the resource and logistical constraints were not so great, creating the kind of adult-only space that

Sections 1 and 5 of Act 372 requires violates the basic purpose of a library to create a welcoming

and inviting environment, where readers can freely peruse a wide-range of offerings to find

materials of interest.

        11.    Complying with Sections 1 and 5 of Act 372 thus leaves ECARL with no good

choices. I could refuse to allow any children access to the library, which would be a horrible

outcome. Or, I can continue to allow minors but move any books that might be deemed “harmful”

to our youngest patrons to an adult-only area, as discussed above. However, doing so will prevent

older and more mature minors from accessing those segregated materials, too, even though some

of the books that would be swept up and segregated in the adult-only room would make fine

reading choices for mature teenagers. Adults will also be negatively affected, as many adult

patrons will find the adult-only section to be heavily stigmatized and an uninviting place to

browse.

        12.    All of these choices are further complicated by the fact that ECARL branches serve

patrons across the age spectrum, from the very young to the very old. Our libraries are also

frequently visited by families that include children too young to be left unattended while a parent

or older sibling peruses our collections. ECARL recommends that children under the age of 15




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years old have an adult chaperone. In such a case, the chaperoning adult would be unable to access

books segregated in an area of the library where the younger minor is prohibited from entering.

       13.    Based on my professional experience as a librarian and library administrator, and

my understanding of the community that ECARL serves, I expect that families will be less

inclined to visit ECARL branches if Act 372 prevents them from perusing books together.

Similarly, I believe that adult visitors to ECARL branches will generally be less inclined to peruse

any books made available only in an adult-only section, as those books will have a stigma attached

and will be less attractive to many readers for that reason.



      I declare under penalty of perjury that the foregoing is true and correct.

      Executed May 7, 2024 in Wynne, Arkansas.


                                             /s/ Reverend John Paul Myrick

                                             Reverend John Paul Myrick
                                             Regional Librarian
                                             East Central Arkansas Regional Library




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